  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 1 of 15




              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF NEW YORK


DEBRA A.,

                       Plaintiff,
            v.                                     Civil Action No.
                                                   1:19-CV-0465 (DEP)

COMMISSIONER OF SOCIAL SECURITY,


                       Defendant.


APPEARANCES:                            OF COUNSEL:

FOR PLAINTIFF:

DENNIS KENNY LAW OFFICE                 JOSEPHINE GOTTESMAN, ESQ.
288 N. Plank Road
Newburgh, NY 12550

FOR DEFENDANT:

HON. GRANT C. JAQUITH                   CHRISTOPHER L. POTTER, ESQ.
United States Attorney for the          Special Assistant U.S. Attorney
Northern District of New York
P.O. Box 7198
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Syracuse, NY 13261-7198

DAVID E. PEEBLES
U.S. MAGISTRATE JUDGE
   Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 2 of 15




                                      ORDER

      Currently pending before the court in this action, in which plaintiff

seeks judicial review of an adverse administrative determination by the

Acting Commissioner of Social Security, pursuant to 42 U.S.C. '' 405(g),

1383(c)(3), are cross-motions for judgment on the pleadings. 1 Oral

argument was conducted in connection with those motions on April 28,

2020, during a telephone conference, held on the record. At the close of

argument, I issued a bench decision in which, after applying the requisite

deferential review standard, I found that the Commissioner=s determination

did not result from the application of proper legal principles and is not

supported by substantial evidence, providing further detail regarding my

reasoning and addressing the specific issues raised by the plaintiff in this

appeal.

      After due deliberation, and based upon the court=s oral bench

decision, a transcript of which is attached and incorporated herein by

reference, it is hereby



      1       This matter, which is before me on consent of the parties pursuant to 28
U.S.C. ' 636(c), has been treated in accordance with the procedures set forth in
General Order No. 18. Under that General Order once issue has been joined, an action
such as this is considered procedurally as if cross-motions for judgment on the
pleadings had been filed pursuant to Rule 12(c) of the Federal Rules of Civil
Procedure.

                                          2
   Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 3 of 15




ORDERED, as follows:

       1)     Plaintiff=s motion for judgment on the pleadings is GRANTED.

       2)     The Commissioner=s determination that plaintiff was not

disabled at the relevant times, and thus is not entitled to benefits under the

Social Security Act, is VACATED.

       3)     The matter is hereby REMANDED to the Commissioner, with a

directed finding of disability, for the purpose of calculating benefits owing

to the plaintiff.

       4)     The clerk is directed to enter judgment, based upon this

determination, remanding the matter to the Commissioner pursuant to

sentence four of 42 U.S.C. ' 405(g) and closing this case.




Dated: May 6, 2020
       Syracuse, New York




                                       3
Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 4 of 15




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
DEBRA J. A.,

                         Plaintiff,
vs.                                              1:19-CV-465

Commissioner of Social Security,

                      Defendant.
-------------------------------------------------------x
                 DECISION - April 28, 2020

      James Hanley Federal Building, Syracuse, New York
                 HONORABLE DAVID E. PEEBLES

          United States Magistrate Judge, Presiding


                  APPEARANCES (by telephone)

For Plaintiff:      DENNIS KENNY LAW
                    Attorneys at Law
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                    Newburgh, NY 12550
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  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 5 of 15
           Decision - 4/28/2020 - 19-cv-465                          2


           THE COURT:   All right.    Let me thank counsel for
excellent presentations, both in writing and orally.          This is

an interesting case and somewhat out of the ordinary.          The

background of the case is as follows.
           Plaintiff commenced this action pursuant to 42,

United States Code, Sections 405(g) and 1383(c)(3)

challenging a determination by the Commissioner finding that
plaintiff was not disabled at the relevant times and,

therefore, ineligible for Social Security benefits.
           The plaintiff is a relatively poor historian and so

it is somewhat difficult from the record to determine

precisely some of the background facts.        Plaintiff was born
in April of 1961.    She is currently 59 years old.       She was 43

years of age at the alleged onset date of July 3, 2014.

           Plaintiff stands 5-foot 6-inches in height and
weighs 147 pounds.    Plaintiff lives in an apartment in

Ellenville, New York, with a partner, as well as two dogs and
one cat.   She apparently is still legally married to her

husband but separated.     Plaintiff has an eleventh grade

education, did not achieve a GED.       Plaintiff is able to
drive.

           In terms of her past work, plaintiff worked as a

cleaner and a housekeeper for the Town of Rochester part time
from 2002 to 2006.    In 2008 she worked as a bus cleaner.         It

was a position characterized by the vocational expert as an
  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 6 of 15
            Decision - 4/28/2020 - 19-cv-465                       3


industrial cleaner.    She was injured when she slipped off of
a bus.   She also worked for three weeks on an assembly line.

            Physically, plaintiff suffers from several

diagnosed conditions; including diabetes; degenerative disc
disease of the lumbar spine; Meniere's disease, for which she

receives shots or injections every three months; vertigo and

dizziness; COPD; sinus headaches; hypothyroidism; and asthma.
She also complains of pain in her arms, back and down to her

feet.
            Mentally, plaintiff has been variously diagnosed as

suffering from bipolar disorder, a history of cannabis abuse

and alcohol abuse and dependency, and alcohol-induced
dementia.    That latter diagnosis appears variously in the

record, including at page 2906 of the Administrative

Transcript.
            Plaintiff has seen several physicians, including

Dr. Steven Parnes from the Albany Medical Center for her ENT
needs.   In terms of her mental and psychological needs, she

has seen FNP Vanessa Tocco-Stevens and PMHNP Trissa Adams.

            Plaintiff was hospitalized on several occasions,
including in January 2016 for confusion and symptomatic

hypo-natremia.    She was hospitalized involuntarily in March

of 2016 with an unspecified psychosis.       She was diagnosed as
having a GAF of 55, a Global Assessment of Functioning Score,

upon discharge.    She was hospitalized again in November of
  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 7 of 15
           Decision - 4/28/2020 - 19-cv-465                         4


2016 with auditory hallucinations and suicidal ideations, and
was again hospitalized in May of 2017.

           In terms of medications plaintiff has been

prescribed Librium, Seroquel, Risperdal, Haldol, Synthroid,
Hydrocodone in the past, Meclizine, Aleve, Prolixin,

Cogentin, and Meloxicam.

           Plaintiff has fairly significant activities of
daily living.    She is able to dress, shower and groom

herself.   She does laundry.     She does some cleaning with
help, does watch television.      She plays computer games and

goes out some.

           Plaintiff is a smoker.     In 2014 it was indicated at
page 69 of the Administrative Transcript she smoked twelve

cigarettes per day but was previously a heavier smoker.            In

2018, according to page 121 of the Administrative Transcript,
she smoked five cigarettes per day.

           Procedurally, plaintiff applied for Title II and
Title XVI benefits on June 2, 2016.       It was noted that a

prior application for benefits was denied on July 2, 2014.

In her current applications she alleged a disability onset
date of the day after that denial of July 3, 2014.         She

claims disability based on Meniere's Disease, COPD, back

problems, peptic ulcer disease, and psychiatric and
psychological problems.     That's at page 315 of the

Administrative Transcript.
  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 8 of 15
          Decision - 4/28/2020 - 19-cv-465                         5


          A hearing was conducted on March 14, 2018 by
Administrative Law Judge Kieran McCormack to address

plaintiff's application.     ALJ McCormack issued an unfavorable

decision on May 9, 2018 that became a final determination of
the Agency on February 20, 2019 when the Social Security

Administration Appeals Council denied plaintiff's application

for review.   This action was commenced on April 20, 2019 and
is timely.

          In his decision ALJ McCormack applied the
sequential five-step test for determining disability, as

modified to address cases involving DAA, or drug and alcohol

abuse -- drug addiction and alcoholism, I should say.
          At step one, initially he noted that there was no

substantial gainful activity reflected in the record from

July 3, 2014 forward.
          At step two, considering plaintiff's DAA, ALJ

McCormack concluded that plaintiff suffers from degenerative
disc disease of the lumbar spine, Meniere's disease, vertigo,

COPD, bipolar disorder, cannabis abuse, alcohol dependence,

and alcohol-induced dementia.
          At step three, relying heavily upon the report of

NP Adams and NP Tocco-Stevens, the Administrative Law Judge

concluded that plaintiff's condition does meet or medically
equal the listed presumptively disabling conditions set forth

in the Commissioner's regulations, and therefore a finding of
  Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 9 of 15
          Decision - 4/28/2020 - 19-cv-465                         6


disability would be required.
          Proceeding to the second prong of considering

plaintiff's condition absent DAA, the Administrative Law

Judge concluded that if claimant stopped the substance use,
and, specifically, alcohol dependence and induced dementia,

the claimant would not have an impairment or combination of

impairments meeting or equaling any of the listed
presumptively disabling conditions set forth in the

regulations, and found that the remaining severe impairments
imposing more than minimal limitations on the ability to

perform basic work functions did not specify what those

remaining impairments were.      Presumptively there would be
other impairments listed at step two initially, which would

be the degenerative disc disease of the lumbar disease,

Meniere's disease, vertigo, COPD and bipolar disorder.
          The Administrative Law Judge went on to formulate a

residual functional capacity in the absence of DAA, which had
both physical limitations and mental limitations.         He found

that she has the exertional ability to perform medium work,

again with limitations physically and mentally.
          At step four the Administrative Law Judge found

that plaintiff is incapable of performing her past relevant

work as an industrial cleaner even absent the effects of DAA.
          And at step five he concluded, with the assistance

of opinions from a vocational expert, that without the
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 10 of 15
            Decision - 4/28/2020 - 19-cv-465                       7


effects of DAA, plaintiff could work as a food service
worker, a dishwasher and an order filler.

            In this case I apply an extremely deferential

standard.    I must determine whether correct legal principles
were applied and the resulting determination is supported by

substantial evidence, which, of course, is defined as such

relevant evidence as a reasonable mind would find sufficient
to support a finding of fact.

            The analysis in here is controlled by the statute
related to DAA.    Under 42 U.S.C. Section 1382c(a)(3)(J), the

regulations provide that, "An individual shall not be

considered to be disabled for purposes of this subchapter if
alcoholism or drug addiction would be a contributing factor

material to the Commissioner's determination that the

individual is disabled."
            The seminal case of course in this circuit is Cage

versus Commissioner of Social Security, reported at 692 F.3d
118 from the Second Circuit 2012.      In that case the Second

Circuit noted that, quote, "When there is medical evidence of

an applicant's drug or alcohol abuse, the disability inquiry
does not end with the five-step analysis."        The Court went on

to note that instead under the Contract with Advancement Act

adopted by Congress in 1996, "an individual shall not be
considered to be disabled if alcoholism or drug addiction

would be a contributing factor material to the Commissioner's
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 11 of 15
            Decision - 4/28/2020 - 19-cv-465                       8


determination that the individual is disabled."
            Under this analysis and under Cage, the critical

issue is whether the plaintiff would still be disabled if he

or she stopped using drugs or alcohol; it is not whether the
plaintiff would be disabled if he or she never abused drugs

or alcohol, as the Administrative Law Judge in this case

seems to have believed.    I note that the burden of
demonstrating that substance abuse is not a contributing

factor material to the disability determination does rest
with the claimant.

            As plaintiff has argued, the analysis is the

subject of Social Security Ruling SSR 13-2p promulgated in
February of 2013.    So the issue here is whether plaintiff

when she stopped abusing alcohol would nonetheless be

disabled.    SSR 13-2p notes that there are different scenarios
where a plaintiff can remain disabled.       The step five

determination, this is under *7 of the Westlaw version of SSR
13-2p, requires consideration of whether the DAA caused or

affected the claimant's other medical impairments.         And there

are different scenarios, but one of the scenarios is the
following:    "The claimant's DAA medically caused the other

disabling impairments, but the other impairments is or are

irreversible or could not improve to the point of
non-disability in the absence of DAA.       Examples of such

impairments could include peripheral neuropathy, permanent
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 12 of 15
           Decision - 4/28/2020 - 19-cv-465                        9


encephalopathy, cirrhosis of the liver, substance-induced
persisting dementia, and substance-induced persisting

amnestic disorder that result from long-term alcohol or drug

use."   So the ruling recognizes that DAA can cause
substance-induced persisting dementia that extends beyond the

beginning of sobriety.

           In this case we know what plaintiff's condition was
two years after the beginning of sobriety.        The

Administrative Law Judge found at page 30 that the plaintiff
had been sober since December of 2015.       More than two years

later Nurse Practitioner Trissa Adams rendered an opinion and

at page 2893 indicated that plaintiff has no useful ability
to function in the area of maintaining attention for a

two-hour segment, and also in the area of completing a normal

workday and workweek without interruptions from
psychologically based symptoms, and perform at a consistent

pace without an unreasonable number and length of rest
periods.   There are also four areas in which she is deemed

unable to meet competitive standards, and three more where

she is seriously limited but not precluded.
           The Administrative Law Judge gave great weight to

this opinion.   There is absolutely nothing in the record to

suggest that the opinion was rendered to assume that
plaintiff was continuing in her drug and alcohol abuse, which

of course was not the fact.     The opinion concerning schedule
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 13 of 15
          Decision - 4/28/2020 - 19-cv-465                         10


and the ability to maintain a schedule and maintain an on
task approach to work is supported by FNP Tocco-Stevens at

page 2900 of the Administrative Transcript.        Both of these

opinions were given great weight, and based on those opinions
the Administrative Law Judge concluded that plaintiff's

condition meets or equals the listed presumptively disabling

conditions.
          I think the key here is that the Administrative Law

Judge did not recognize the alcohol-induced dementia and
specifically determined that, and I'm looking at page 34, "If

the claimant stopped the substance abuse, specifically the

alcohol dependence and alcohol-induced dementia, the claimant
would be unable to perform past relevant work."        So clearly

the Administrative Law Judge discounted the alcohol-induced

dementia which persisted two years after plaintiff began a
period of sobriety.    And it appears to me quite obvious and

evident that the Administrative Law Judge erred, and instead
of determining what claimant's condition would be if she

ceased DAA, he instead thought the focus was what would her

condition be if she had never experienced DAA.        That's, of
course, not the relevant consideration under SSR 13-2p and

the regulation that we've been discussing.

          The finding of materiality, in sum and substance,
is not supported by substantial evidence.       The determination

that plaintiff did not meet or equal listings 12.02 and 12.04
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 14 of 15
           Decision - 4/28/2020 - 19-cv-465                         11


without DAA is not supported by substantial evidence.         The
Administrative Law Judge concluded based on those two reports

of the nurse practitioners that plaintiff would be disabled

if she experienced the limitations set forth in those
reports.   And so I find not only that the Commissioner's

determination was error and should be vacated, but also I

find persuasive evidence of disability based upon those two
reports which the Administrative Law Judge gave great weight

to.
           So I will grant judgment on the pleadings to the

plaintiff with a directed finding of disability, and I will

remand the matter solely for the calculation of benefits.
           Thank you both for excellent presentations and I

hope you stay safe in this interesting environment.

                   *              *             *
 Case 1:19-cv-00465-DEP Document 23 Filed 05/06/20 Page 15 of 15




                   C E R T I F I C A T I O N



          I, EILEEN MCDONOUGH, RPR, CRR, Federal Official
Realtime Court Reporter, in and for the United States

District Court for the Northern District of New York,

do hereby certify that pursuant to Section 753, Title 28,
United States Code, that the foregoing is a true and correct

transcript of the stenographically reported proceedings held
in the above-entitled matter and that the transcript page

format is in conformance with the regulations of the

Judicial Conference of the United States.




                               ________________________________

                               EILEEN MCDONOUGH, RPR, CRR
                               Federal Official Court Reporter
